       CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 1 of 14



                            UNITED STATES DISTRICT COURT

                                DISTRICT OF MINNESOTA


Aldene Morrison, as Trustee for the Heirs and
Next-of-Kin of Anthony May, Jr., deceased                    Case No.: 19-cv-1107

               Plaintiff,

vs.                                                          COMPLAINT AND DEMAND
                                                               FOR JURY TRIAL
Beltrami County (Minnesota), Sheriff Phil H.
Hodapp, individually, and in his capacity as
Beltrami County Sheriff, and CO Andrew
Richards, CO Saul Garza, CO Adam Olson, and
CO Katherine O’Bryan, individually and in their
capacities as Beltrami County Jail Correctional
Officers,

                Defendants.



       The above captioned Plaintiff for his causes of action against the above-named

Defendants, states and alleges as follows:

                                         INTRODUCTION

       1.      Plaintiff brings this action pursuant to 42 U.S.C. § 1983 for Defendant’s violation

of Anthony May, Jr.’s federal constitutional rights guaranteed by the Eight and Fourteenth

Amendments to the Constitution of the United States, while acting under the color of state law.

                                  JURISDICTION & VENUE

       2.      This action arises under the United States Constitution, particularly under the

provisions of the Eight and Fourteenth Amendments, and under federal law, particularly 42

U.S.C. § 1983 of the Civil Rights Act.

       3.      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331, which

gives this Court original jurisdiction over civil actions arising under the federal laws and federal
       CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 2 of 14



constitution, and pursuant to 28 U.S.C. § 1343(a)(3)-(4), which gives this Court original

jurisdiction over civil actions to redress the deprivation under color of state law, statute,

ordinance, regulation, custom or usage of any federal constitutional right or any right secured by

federal statutes including 42 U.S.C. § 1983.

       4.      Venue is proper in the District of Minnesota, as the acts and transactions

complained of herein all occurred within the district.

                                              PARTIES

       5.      Anthony May, Jr. deceased, died at the Beltrami Jail on or about August 11, 2016.

       6.      Plaintiff Aldene Morrison is the mother of decedent Anthony May, Jr. and is the

Trustee for the Heirs and Next-of-Kin of Anthony May, Jr. having been appointed on May 3,

2018 by the district court of Beltrami County, Minnesota. A copy of the Order appointing

Plaintiff Aldene Morrison is attached hereto as Exhibit A.

       7.      Defendant Beltrami County, Minnesota (“Beltrami County”) is, and at all relevant

times was, a political entity charged with the control and supervision of all law enforcement

personnel, jail personnel and contractors in the Beltrami County Jail, including Defendants CO

Andrew Richards, CO Saul Garza, CO Adam Olson, and CO Katherine O’Bryan.

       8.      Upon information and belief, Defendant Sheriff Phil H. Hodapp is, and at all

relevant times was, a duly appointed and acting Sheriff of Beltrami County Jail and, as such, in

charge of the Beltrami County Jail. As such, Defendant Hodapp was a duly appointed agent

authorized to enforce the law and was acting under the color of the law at all times herein

material. All causes of action brought against Defendant Hodapp are brought both individually

and in his official capacity as correctional officers.

       9.      Upon information and belief, Defendant CO Andrew Richards is, and at all




                                                   2
       CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 3 of 14



relevant times was, a duly appointed and acting Correctional Officer at the Beltrami County Jail.

As such, Defendant Richards was a duly appointed agent authorized to enforce the law and was

acting under the color of the law at all times herein material. All causes of action brought against

Defendant Richards are brought both individually and in his official capacity as correctional

officers. On information and belief, CO Richards performed wellbeing checks on decedent

Anthony May, Jr. on the evening of August 10, 2016 and morning of August 11, 2016.

       10.     Upon information and belief, Defendant CO Saul Garza is, and at all relevant

times was, a duly appointed and acting Correctional Officer at the Beltrami County Jail. As

such, Defendant Garza was a duly appointed agent authorized to enforce the law and was acting

under the color of the law at all times herein material. All causes of action brought against

Defendant Garza are brought both individually and in his official capacity as correctional

officers. On information and belief, CO Garza performed wellbeing checks on decedent Anthony

May, Jr. on the evening of August 10, 2016 and morning of August 11, 2016.

       11.     Upon information and belief, Defendant CO Adam Olson is, and at all relevant

times was, a duly appointed and acting Correctional Officer at the Beltrami County Jail. As

such, Defendant Olson was a duly appointed agent authorized to enforce the law and was acting

under the color of the law at all times herein material. All causes of action brought against

Defendant Olson are brought both individually and in his official capacity as correctional

officers. On information and belief, CO Olson performed wellbeing checks on decedent

Anthony May, Jr. on the evening of August 10, 2016 and morning of August 11, 2016.

       12.     Upon information and belief, Defendant CO Katherine O’Bryan is, and at all

relevant times was, a duly appointed and acting Correctional Officer at the Beltrami County Jail.

As such, Defendant O’Bryan was a duly appointed agent authorized to enforce the law and was




                                                 3
       CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 4 of 14



acting under the color of the law at all times herein material. All causes of action brought against

Defendant O’Bryan are brought both individually and in her official capacity as correctional

officers. On information and belief, CO O’Bryan performed wellbeing checks on decedent

Anthony May, Jr. on the evening of August 10, 2016 and morning of August 11, 2016.

                                  FACTUAL BACKGROUND

       13.     Decedent Anthony May, J. died of sudden cardiac arrest at the Beltrami Jail on

August 11, 2016. At the time, jail policy section 2911.5000, Subpart 5 provided that:

       A facility shall have a system providing for well-being checks of inmates. A
       written policy and procedure shall provide that all inmates are personally
       observed by a custody staff person at least once every 30 minutes.” Thirty-minute
       checks should be staggered. If a well-being check does not occur due to an
       emergency, it must be documented in the jail log and have supervisory review and
       approval. More frequent observation is required for those inmates of a special
       need classification who may be harmful to themselves.


       14.     The investigation of Mr. May’s death by the Department of Corrections (“DOC”)

concluded that, in addition to checks being beyond the 30-minute timeline in violation of the

rule, the rule was violated because the “pace of well-being checks [were] too fast.”

       15.     In a letter dated January 24, 2017, Mr. Greg Croucher, Senior Detention facility

Inspector for the DOC informed Defendant Sheriff Hodapp that “the pace of many of these

checks was observed to be very quick. It would be difficult for staff members to [sic] movement,

rise and fall of the chest or other signs of life conducting checks at such a quick pace.”

       16.     In addition, because Mr. May had fallen and gone to the hospital for a ribcage

injury just days before, he should have been checked even more frequently.

       17.     The quick pace of these checks made the checks fundamentally useless making

them a substantial contributing factor to the death of Mr. May as his condition could not be

recognized by jail staff and addressed in a timely manner so as to provide him with the medical




                                                  4
       CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 5 of 14



assistance necessary to save his life.

       18.     Performing these well-being checks at a pace that defeated their purpose and

prevented the jail staff from discovering Mr. May’s medical condition evidences a deliberate

indifference to his safety. The very purpose of the checks is to prevent the risk of medical and

other emergencies from harming an inmate. Performing them so as to defeat this purpose

evidences indifference to that risk.

       19.     As a result of the jail’s deliberate indifference, Mr. May died 7 days shy of this

27th birthday. In addition to his parents, three brother and two sisters, he was survived by four

minor children.

                                        COUNT I
         DENIAL OF DUE PROCESS RIGHT TO ADEQUATE MEDICAL CARE
           (As to all Defendants except Beltrami County and Sherriff Hodapp)

       20.     Plaintiff hereby realleges and incorporates by reference the allegations

complained of above as if set forth specifically herein.

       21.     While incarcerated in Defendant’s custody, Anthony May, Jr. had a

constitutional right under the substantive due process clause of the Eight and

Fourteenth Amendments to the United States Constitution to have his basic human

needs met, including receiving adequate medical care. Deliberate indifference to an

inmate’s serious medical needs constitutes a violation of Mr. May’s Eight and

Fourteenth Amendment rights.

       22.     Mr. May’s constitutional right to receive adequate medical care under the

Eight and Fourteenth Amendments was clearly established.

       23.     Defendant’s behavior far surpassed “mere negligence.” Defendants

willfully denied Mr. May adequate medical care and were deliberately indifferent to



                                                 5
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 6 of 14



Mr. May’s medical needs. Mr. May had objectively serious medical needs and

defendants were required to perform regular and effective wellbeing checks to protect

his health and safety. Defendant knew of and disregarded a substantial risk of serious

harm to Mr. May’s health and safety. Defendant’s acts and/or omissions in response to

Mr. May’s medical needs were so grossly incompetent and inadequate as to shock the

conscience.

       24.     As a direct and proximate result of Defendant’s acts and/or omissions, as

described herein, Defendants, while acting under color of state law, deprived Mr. May

of his federal constitutional right to receive adequate medical care in violation of the

Eight and Fourteenth Amendment and 42 U.S.C. § 1983.

       25.     As a direct and proximate result of Defendant’s acts and/or omissions, as

described herein, decedent’s heirs and next of kin have incurred funeral and burial

costs, as well as other damages in connection with Mr. May’s death, including but not

limited to, loss of the advice, comfort, assistance, companionship, protection, counsel,

guidance, aid, and future relationships and other contributions Anthony May, Jr. would

have provided to them had he lived, or as otherwise available to them under 42 U.S.C.

§ 1983, all to their damage in a sum to be proved at trial, but presently estimated to be

well in excess of Seventy Five thousand dollars.

                                          COUNT II
                        DENIAL OF DUE PROCESS RIGHT TO LIFE
              (As to all Defendants except Beltrami County and Sheriff Hodapp)

       26.     Plaintiff hereby realleges and incorporates by reference the allegations

complained of above as if set forth specifically herein.




                                             6
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 7 of 14



       27.    Anthony May, Jr. had a right under the Eight Amendment of the United

States Constitution and under the substantive due process clause of the Fourteenth

Amendment to the United States Constitution not to be deprived of his life without due

process of law. While incarcerated in Defendant’s custody, Mr. May was unable to care

for himself, and because of this special relationship, Defendants had an affirmative duty

to protect Mr. May from life-threatening medical conditions and defendants were

required to perform regular and effective wellbeing checks to protect his health and

safety. Defendant’s acts and/or omissions in response to Mr. May’s serious medical

needs were so egregious and outrageous that Defendant’s behavior can be fairly said to

shock the conscience.

       28.    Anthony May, Jr.’s constitutional right not to be deprived of his life under

the Eight and Fourteenth Amendments was clearly established.

       29.    As a direct and proximate result of Defendant’s acts and/or omissions, as

described herein, Defendants, while acting under color of state law, deprived Mr. May

of his federal constitutional right to life, in violation of the Eight and Fourteenth

Amendments and 42 U.S.C. § 1983.

       30.    As a direct and proximate result of Defendant’s acts and/or omissions, as

described herein, decedent’s heirs and next of kin have incurred funeral and burial

costs, as well as other damages in connection with Mr. May’s death, including but not

limited to, loss of the advice, comfort, assistance, companionship, protection, counsel,

guidance, aid, and future relationships and other contributions Anthony May, Jr. would

have provided to them had he lived, or as otherwise available to them under 42 U.S.C.




                                              7
         CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 8 of 14



§ 1983, all to their damage in a sum to be proved at trial, but presently estimated to be

well in excess of Seventy Five thousand dollars.

                                  COUNT III
         DENIAL OF DUE PROCESS RIGHT TO ADEQUATE MEDICAL CARE
                       (As to Defendant Beltrami County)

         31.   Plaintiff hereby realleges and incorporates by reference the allegations

complained of above as if set forth specifically herein.

         32.   While incarcerated in Defendant Beltrami County’s custody, Anthony

May, Jr. had a constitutional right under the substantive due process clause of the Eight

and Fourteenth Amendments to the United States Constitution to have his basic human

needs met, including receiving adequate medical care. Deliberate indifference to an

inmate’s serious medical needs constitutes a violation of Mr. May’s Eight and

Fourteenth Amendment rights.

         33.   On information and belief, Beltrami County has had an on-going and

systematic failure to properly provide adequate medical care and attention to inmates

by, inter alia, failing to provide proper wellbeing checks in that the wellbeing checks were not

within the 30-minute timeline in violation of jail policy section 2911.5000, Subpart 5, and to

quote Mr. Greg Croucher, Senior Detention facility Inspector for the DOC, “the pace of many of

these checks was observed to be very quick. It would be difficult for staff members to [sic]

movement, rise and fall of the chest or other signs of life conducting checks at such a quick

pace.”

         34.   Beltrami’s practice of failing to provide proper wellbeing checks was systematic

and a defacto policy and procedure of Beltrami County.




                                                 8
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 9 of 14



      35.        Defendant Beltrami County’s behavior far surpassed “mere negligence.”

Defendant Beltrami County’s defacto policy of on-going and systematic failure to

provide adequate medical care and attention to inmates by failing to provide adequate

wellbeing checks constituted a willful denial of adequate medical care to Mr. May,

Defendant Beltrami County was deliberately indifferent to Mr. May’s medical needs.

Defendant Beltrami County knew of and disregarded a substantial risk of serious harm

to Mr. May’s health and safety. Defendant Beltrami County’s acts and/or omissions in

response to Mr. May’s medical needs were so grossly incompetent and inadequate as to

shock the conscience.

      36.    As a direct and proximate result of Defendant Beltrami County’s acts

and/or omissions, as described herein, Defendant Beltrami County, while acting under

color of state law, deprived Mr. May of her federal constitutional right to receive

adequate medical care in violation of the Eight and Fourteenth Amendment and 42

U.S.C. § 1983.

      37.    As a direct and proximate result of Defendant Beltrami County’s acts

and/or omissions, as described herein, decedent’s heirs and next of kin have incurred

funeral and burial costs, as well as other damages in connection with Mr. May’s death,

including but not limited to, loss of the advice, comfort, assistance, companionship,

protection, counsel, guidance, aid, and future relationships and other contributions

Anthony May, Jr. would have provided to them had he lived, or as otherwise available

to them under 42 U.S.C. § 1983, all to their damage in a sum to be proved at trial, but

presently estimated to be well in excess of Seventy Five thousand dollars.




                                             9
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 10 of 14



                                    COUNT IV
                     DENIAL OF DUE PROCESS RIGHT TO LIFE
                         (As to Defendant Beltrami County)

       38.    Plaintiff hereby realleges and incorporates by reference the allegations

complained of above as if set forth specifically herein.

       39.    Anthony May, Jr. had a right under the Eight Amendment of the United

States Constitution and under the substantive due process clause of the Fourteenth

Amendment to the United States Constitution not to be deprived of her life without due

process of law. While incarcerated in Defendant’s custody, Mr. May was unable to care

for himself, and because of this special relationship, Defendants had an affirmative duty

to protect Mr. May from life-threatening medical conditions. Defendant’s acts and/or

omissions in response to Mr. May’s serious medical needs were so egregious and

outrageous that Defendant’s behavior can be fairly said to shock the conscience.

       40.    On information and belief, Beltrami County has had an on-going and

systematic failure to properly provide adequate medical care and attention to inmates

by, inter alia, failing to provide proper wellbeing checks in that the wellbeing checks

were not within the 30-minute timeline in violation of jail policy section 2911.5000,

Subpart 5, and to quote Mr. Greg Croucher, Senior Detention facility Inspector for the

DOC, “the pace of many of these checks was observed to be very quick. It would be

difficult for staff members to [sic] movement, rise and fall of the chest or other signs of

life conducting checks at such a quick pace.”

       41.    Beltrami’s practice of failing to provide proper wellbeing checks was

systematic and a defacto policy and procedure of Beltrami County.




                                             10
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 11 of 14



       42.    Defendant Beltrami County’s behavior far surpassed “mere negligence.”

Defendant Beltrami County’s defacto policy of on-going and systematic failure to

provide adequate medical care and attention to inmates by failing to provide adequate

wellbeing checks constituted a willful denial of adequate medical care to Mr. May,

Defendant Beltrami County was deliberately indifferent to Mr. May’s medical needs.

Defendant Beltrami County knew of and disregarded a substantial risk of serious harm

to Mr. May’s health and safety. Defendant Beltrami County’s acts and/or omissions in

response to Mr. May’s medical needs were so grossly incompetent and inadequate as to

shock the conscience.

       43.    As a direct and proximate result of Defendant Beltrami County’s acts

and/or omissions, as described herein, Defendant Beltrami County, while acting under

color of state law, deprived Mr. May of his federal constitutional right to life, in

violation of the Eight and Fourteenth Amendments and 42 U.S.C. § 1983.

       44.    As a direct and proximate result of Defendant Beltrami County’s acts

and/or omissions, as described herein, decedent’s heirs and next of kin have incurred

funeral and burial costs, as well as other damages in connection with Mr. May’s death,

including but not limited to, loss of the advice, comfort, assistance, companionship,

protection, counsel, guidance, aid, and future relationships and other contributions

Anthony May, Jr. would have provided to them had he lived, or as otherwise available

to them under 42 U.S.C. § 1983, all to their damage in a sum to be proved at trial, but

presently estimated to be well in excess of Seventy Five thousand dollars.




                                             11
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 12 of 14



                                      COUNT V
                                FAILURE TO TRAIN
                (As to Defendants Beltrami County and Sheriff Hodapp)

       45.    Plaintiff hereby realleges and incorporate by reference the allegations

complained of above as if set forth specifically herein.

       46.    Anthony May, Jr.’s suffering and death was a direct result not only of the

Defendant’s acts and/or omissions in violation of the Eight and Fourteenth

Amendments to the federal constitution and 42 U.S.C. § 1983 as described herein, but

also of constitutional violations caused by failure of Defendant Sheriff Phil H. Hodapp

to properly train the Beltrami County jail staff, including, Defendants CO Richards, CO

Garza, CO Olson and CO O’Bryan on how to adequately conduct proper and effective

wellbeing checks that complied with jail policy section 2911.5000, Subpart 5. The failure

to train its employees by Beltrami County in these ways amounted to deliberate

indifference to Mr. May’s constitutional rights.

       47.    Further, on information and belief, Beltrami County has had an on-going

and systematic failure to properly train its correctional officers and jail staff such that it

had a defacto policy and procedure of not properly training its jail staff in how to

adequately conduct proper and effective wellbeing checks that complied with jail policy

section 2911.5000, Subpart 5.

       48.    As a direct and proximate result of the failure of Defendants Beltrami

County and Hodapp to properly train its jail staff, as described herein, Defendants

Beltrami County and Hodapp, while acting under color of state law, deprived Mr. May

of his federal constitutional right to receive adequate medical care in violation of the




                                              12
      CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 13 of 14



Eight and Fourteenth Amendments and 42 U.S.C. § 1983 and his federal constitutional

right to not be deprived of life, in violation of the Eight and Fourteenth Amendment

and 42 U.S.C. § 1988.

       49.     As a direct and proximate result of Defendants Beltrami County and

Hodapp’s acts and/or omissions, as described herein, decedent’s heirs and next of kin

have incurred funeral and burial costs, as well as other damages in connection with Mr.

May’s death, including but not limited to, loss of the advice, comfort, assistance,

companionship, protection, counsel, guidance, aid, and future relationships and other

contributions Anthony May, Jr. would have provided to them had he lived, or as

otherwise available to them under 42 U.S.C. § 1983, all to their damage in a sum to be

proved at trial, but presently estimated to be well in excess of Seventy Five thousand

dollars.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them,

jointly and severally, as follows:

       A.       Finding that Defendants, and each of them, committed acts and omissions that

constituted violations of the Eight and/or Fourteenth Amendment to the United States

Constitution, actionable under 42 U.S.C. §1983;

       B.      Awarding judgment in favor of Plaintiff against the Defendants, and each of them,

jointly and severally in an amount to be determined at trial as and for compensatory damages;

       C.      Awarding Plaintiff all applicable pre-judgment and post-judgment interest;

       D.      Awarding Plaintiff his attorney’s fees and costs pursuant to 42 U.S.C. § 1988

and/or their contingency fee agreement; and



                                               13
     CASE 0:19-cv-01107-JRT-LIB Document 1 Filed 04/24/19 Page 14 of 14



      E.    Awarding such other and further relief as the Court may deem just and equitable.

                                    JURY DEMAND

      A TRIAL BY JURY ON ALL ISSUES SO TRIABLE IS HEREBY REQUESTED.



DATED: April 24, 2019                    BENNEROTTE & ASSOCIATES, P.A.


                                         By:      s/ Vincent J. Moccio_______________
                                                 Vincent J. Moccio (MN# 184640)

                                         3085 Justice Way, Suite 200
                                         Eagan, MN 55121
                                         651-842-9257
                                         vincent@ bennerotte.com

                                         ATTORNEYS FOR PLAINTIFF




                                            14
